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                              EXHIBIT 7
    Aug. 20, 2024 VFOIA Request from VACIR to the Office of the
    Governor, Office of the Attorney General, Virginia Department of
           Elections, and the Department of Motor Vehicles
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                                                                              August 20, 2024

Via Email

FOIA Officer
Office of the Governor                                 FOIA Officer
Patrick Henry Building                                 Office of the Attorney General
1111 East Broad Street                                 202 North 9th Street
Richmond, VA 23219                                     Richmond, VA 23219
foia@governor.virginia.gov                             foia@oag.state.va.us

FOIA Coordinator                                       FOIA Officer
Department of Elections                                Department of Motor Vehicles
Washington Building                                    Data Management Services
1100 Bank Street, First Floor                          Attn: FOIA
Richmond, VA 23219                                     P.O. Box 27412
foia@elections.virginia.gov                            Richmond, VA 23269
                                                       foia@dmv.virginia.gov

Dear FOIA Officers,

We are writing your offices pursuant to the Virginia Freedom of Information Act (“VFOIA”), Va.
Code § 2.2-3700 et seq., and the Public Disclosure of Voter Registration Activities provision of
the National Voter Registration Act of 1993 (“NVRA”), 52 U.S.C. § 20507(i), to request copies
of all records relating to the removal from the voter registration rolls of Virginia registered voters
on the basis that they have been identified as a “non-citizen.” According to Executive Order
Number Thirty-Five (2024), issued August 7, 2024, and titled “Comprehensive Election Security
Protecting Legal Voters and Accurate Counting” (hereinafter “EO-35”), attached for reference,
6,303 alleged non-citizens were removed from the voter rolls between January 2022 and July
2024.
Please respond individually to each of the numbered requests below noting whether (1)
responsive records have been provided, (2) no responsive records exist, or (3) responsive records
exist but are being withheld. If a record does not exist, or exists but is not in the possession of
your office, please explicitly say so, and indicate which office, if any, is in possession of the
record, including the proper custodian’s name and email address. Please provide partially
redacted records wherever non-exempt information is commingled with exempt information, and
provide detail to the fullest extent possible the subject and volume of any withheld information.
If responsive records are withheld in full or redacted in part, please specify each statutory
exemption you believe justifies the nondisclosure and provide a description of the contents
withheld, including subject matter, number of pages, and the date(s) of the record(s).



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Please include any responsive records in the possession of your office, regardless of who created
them. This request covers all records from January 15, 2022, through the date of your response.
Specifically, we request:

   1. All records relating to the removal from the voter registration rolls of Virginia registered
      voters on the basis that they have been identified as a non-citizen, including, but not
      limited to, all notes, correspondence, emails, memoranda, reports, drafts, studies,
      proposals, requests, agendas, call logs, calendar entries, transcripts, minutes, budgetary
      and financial documents, and electronic and other data used for the identification and
      removal from the voter registration rolls of Virginia registered voters on the basis of
      non-citizenship, and other records of any kind. Specifically, and at a minimum, this
      should include:
          a. All communications between your offices and between your offices and local
              registrars relating to the removal from the voter registration rolls of Virginia
              registered voters on the basis that they have been identified as a non-citizen.
          b. All records relating to the “multi-agency data-sharing protocols and standards
              developed by the working group called for in Executive Order [31],” including all
              records evidencing all aspects of the process used to “ensure the accuracy,
              reliability, privacy, and timeliness of the data used for list maintenance,” as
              described in EO-35.
          c. All “data collected by the DMV that identifies non-citizens,” as described in
              EO-35, and all other records evidencing any other data or information, including
              the sources of any and all data and other information, used by any of your offices
              to identify Virginia registered voters who are potential non-citizens.
          d. All records evidencing all aspects of the process by which the Department of
              Motor Vehicles, “[w]hen issuing a credential such as a driver’s license… verifies
              applicants’ proof of identity and legal status with the Department of Homeland
              Security Systematic Alien Verification for Entitlements (SAVE) database and the
              Social Security Administration database,” as described in EO-35, including any
              memoranda of understanding or other agreements by any of your offices with any
              other state or federal agency related to the use of SAVE or any other program or
              database related to the identification of potential non-citizens.
          e. All records evidencing all aspects of the processes by which the Department of
              Elections “uses [data from the DMV] to scrub existing voter rolls and remove
              non-citizens who may have purposefully or accidentally registered to vote,”
              “[r]emove[s] individuals who are unable to verify that they are citizens to the
              Department of Motor Vehicles from the statewide voter registration list,” and
              “compares the list of individuals who have been identified as non-citizens to the
              list of registered voters and then registrars notify any matches of their pending
              cancellation unless they affirm their citizenship within 14 days,” as described in
              EO-35, including the process by which the Department of Elections confirms that
              the individuals identified as potential non-citizens are in fact non-citizens and that
              these individuals do in fact correctly “match” the individual registered voters.


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            f. All records relating to any individual erroneously identified as a potential
                 non-citizen, including any individuals who established their citizenship following
                 receiving a notice, the means by which their citizenship was established or
                 otherwise confirmed, and any steps taken by your offices to ensure that this same
                 type of error is not repeated.
            g. All records relating to public communications concerning the identification and
                 removal from the voter registration rolls of Virginia registered voters on the basis
                 that they are a potential non-citizen, including all records evidencing your office’s
                 awareness of the potential effects of such public communications in intimidating
                 or otherwise dissuading eligible voters from registering to vote or voting.
   2.   All records relating to the development and establishment of Virginia’s current policy and
        process for the removal from the voter registration rolls of Virginia registered voters on
        the basis that they have been identified as a non-citizen, including, but not limited to, all
        notes, correspondence, emails, memoranda, reports, drafts, studies, proposals, requests,
        agendas, call logs, calendar entries, transcripts, minutes, budgetary and financial
        documents, and electronic and other data, and other records of any kind.
   3.   All records relating to any investigation by any of your offices of alleged non-citizens for
        registering to vote or voting, including any actions taken by your offices to refer alleged
        non-citizens for investigation by Commonwealth’s Attorneys or any other offices.
   4.   All mail and electronic communications between your office and any Virginia registered
        voters who have been identified as potential non-citizens, including both prior to removal
        and upon or after removal, and including any return communications from the voter. A
        representative sample of each form letter or electronic communication may be provided
        in lieu of individual communications where the form does not differ across
        communications and where there is no response from the voter.
   5.   All records evidencing the supervision, reporting structure, training, and guidelines
        provided to the staff assigned by your office to any aspect of the process for the
        identification and removal from the voter registration rolls of Virginia registered voters
        on the basis that they are a potential non-citizen, including, but not limited to, all
        guidelines, procedures, policies, practices, manuals, training program and materials, and
        other records governing the staff assigned to any aspect of the process, including all
        drafts and final versions of said records.
   6.   An electronic spreadsheet containing a list of all Virginia registered voters who have been
        removed from the voter registration rolls on the basis that they have been identified as a
        “non-citizen” since January 15, 2022, and all information contained in the voter file for
        each individual, including, but not limited to, the initial date of registration, the method of
        registration, the date(s) of any change(s) in their voter registration status, their voting
        history, the date of removal, the source and nature of any information used to determine
        their citizenship status, and the date(s) of any correspondence with the voter.
We prefer to receive copies of all records electronically, so long as the records are legible. Please
send all responsive documents via email to monica@vacir.org, and please copy the individuals
listed in the cc section of this request. Consistent with the VFOIA and NVRA, we are prepared
to pay for the actual and reasonable costs of collection and copying the requested records, and

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ask that you provide an estimate of such costs, should they exceed $200, in advance of supplying
the requested records.
Consistent with the VFOIA, your office must respond to this request within five (5) working
days beginning the day after receipt. If it is logistically impossible for you to fully respond to this
request within the five-day period, your office must state this in writing and explain the
circumstances necessitating an extension of no more than seven (7) additional working days to
fully respond.

Thank you for your attention and cooperation with this request.

Sincerely,



Monica Sarmiento
Executive Director
Virginia Coalition for Immigrant Rights
monica@vacir.org

cc:
Ryan Snow (rsnow@lawyerscommittee.org)
Javon Davis (jdavis@lawyerscommittee.org)




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